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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA: TAMPA

JOHN W. HOPKINS and ROBERT BARNETT,

individually and on behalf of all others similarly
Situated,

Plaintiffs,
-against- COMPLAINT
KJMK MANAGEMENT, INC., individually and
d/b/a REALSTREET STAFFING,
KEVIN MCGOVERN, and JUDITH MCGOVERN,

Defendants.

 

INTRODUCTION

l. This case is an action to remedy the failure of defendants to pay plaintiffs overtime premium
pay as required by the F air Labor Standards Act (FLSA), 29 U.S.C. §201 e_t_S_L.

2. Plaintiffs seek unpaid wages, liquidated damages, costs and attorneys’ fees as well as
declaratory relief under the FLSA.

JURISDICTION

3. Jurisdiction is conferred upon this Court by 29 U.S.C. §216(b) of the F air Labor Standards
Act, by 28 U.S.C. §1331, this action arising under laws of the United States, and by 28
U.S.C. §1337, this action arising under Acts of Congress regulating commerce Jurisdiction
over plaintiffs' claims for declaratory relief is conferred by 28 U.S.C. §§2201 and 2202.

VENUE

4. Venue is proper in this district pursuant to 28 U.S.C. §l39l(b).

5 . Upon information and belief, defendant KJMK resides in this district

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6. Plaintiff HOPKINS performed labor for defendants within this district

7. Plaintiff HOPKINS resides in this district

PARTIES
A. Plaintiffs

8. Plaintiffs JOHN W. HOPKINS and ROBERT BARNETT were employees of defendantsl
Their consent to sue forms are attached to the back of this complaint

9. Plaintiff JOHN W. HOPKINS worked for defendants in Florida in this District.

lO. Plaintiffs JOHN W. HOPKlNS and ROBERT BARNETT were engaged in commerce in
their work for defendant

l l . The named plaintiffs represent other employees engaged in staffing FEMA disaster recovery
efforts paid on an hourly basis without receiving time and one half premium pay by
defendants for hours over forty in a work week.
B. Defendants

12. Defendant KJMK MANAGEMENT, INC., individually and d/b/a REALSTREET
STAFFING lists its business address as 2500 Wallington Way, Ste. 208, Marriotsville, MD
21104-1507.

13. Upon information and belie;f, defendant corporation is a Delaware corporation headquartered
in Maryland.

14. Defendant company’s business is to provide staffing to FEMA for its disaster recovery
efforts

15. Defendants KEVIN MCGOVERN and JUDITH MCGOVERN are officers of defendant

KJMK and in that capacity they set the pay and labor practices for the company, including

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overtime pay.

l6. Defendants are an enterprise engaged in commerce for purposes of the Fair Labor Standards
Act.

17. All actions and omissions described in this complaint were made by defendants directly or
through their supervisory employees and agents

FACTS

18. Plaintiff HOPKINS began his employment with defendants in or about August 2004.

19. He ceased employment with defendant in or about October 2006.

20. Plaintiff BARNETT began his employment with defendants in or about November 2004.

21. He ceased employment with defendant in or about June 2006.

22. Plaintiffs regularly Worked more than 40 hours per week for defendants

23. Plaintiff HOPKINS and Plaintiff BARNETT were paid at hourly rates

24. Defendants failed to pay plaintiffs overtime compensation at the rate of time and one-half
for all hours worked over 40 in a week.

25. Defendants’ failure to pay plaintiffs the proper wages required by law was willful.

FIRST CAUSE OF ACTION
(FAIR LABOR STANDARDS ACT)

26. Defendants failed to pay overtime wages to the plaintiffs in violation of the Fair Labor
Standards Act, 29 U.S.C. §207 §t__s_e_g. and its implementing regulations

27. Defendants’ failure to pay proper wages for each hour Worked over 40 per week was willful
within the meaning of the FLSA.

28. Defendants’ failure to comply with the FLSA overtime protections caused plaintiffs to suffer

loss of Wages and interest thereon.

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WHEREFORE, plaintiffs request that this Court enter an order:

l. Declaring that the defendants violated the F air Labor Standards Act;
2. Declaring that the defendants’ violations of the FLSA were willful;
3. Granting judgment to the plaintiffs for their claims of unpaid wages as secured by the

Fair Labor Standards Act as well as an equal amount in liquidated damages;

4. Awarding the plaintiffs their costs and reasonable attorneys' fees; and

5. Granting such further relief as the Court finds just.

Dated: October 12, 2006

Respectfully Submitted,

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ATTORNEYS F()R PLAINTIFFS

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CONSENT 'I`O SUE
l hereby consent to be a plaintiff in this Fair Labor Standards Act case. l consent to the bringing
of any claims 1 may have under the Fair Labor Standards Act (for unpaid overtime, liquidated damages
attorney`s fees, costs and other relief) against the defendants KJMK Managemeut, Inc., Realstreet
Staffing, and Kevin McGovern. 1 authorize the Getman Law Ofiice, their successors and assigns to

represent me in this case.
Dated: /O"u‘i' ' 09
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CONSENT TO SUE
1 hereby consent to be a plaintiff in this Fair Laer Standards Act casal I consent to the bringing
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Staffing, and Kevin McGovem. l authorize the Getman Law Ofl‘ice, their successors and assigns to

represent me in this casa

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